83 F.3d 422
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.J. Thomas GAVIN, Jr., M.D.;  Cynthia Gavin, Individually andas next friend for their three minor children nfr JohnMichael Gavin nfr Thomas Gavin nfr Christopher Gavin;  HomerAlexander;  Josephine Alexander, Plaintiffs-Appellants,v.David BROWN, M.D.;  Patricia Barnstable Brown;  DiamondDerby Inc;  et al., Defendants-Appellees,Columbia/HCA Health Care Corporation, Defendant.
    No. 95-5379.
    United States Court of Appeals, Sixth Circuit.
    April 22, 1996.
    
      Before:  MERRITT, Chief Circuit Judge, ENGEL, RYAN, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof.
    
    
      2
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    